                Case 5:22-cv-00501-BLF Document 57 Filed 05/20/22 Page 1 of 3




1
     HARMEET K. DHILLON (SBN: 207873)
2
     harmeet@dhillonlaw.com
3    MICHAEL A. COLUMBO (SBN: 271283)
     mcolumbo@dhillonlaw.com
4    MARK P. MEUSER (SBN: 231335)
     mmeuser@dhillonlaw.com
5    DHILLON LAW GROUP INC.
6    177 Post Street, Suite 700
     San Francisco, California 94108
7    Telephone: (415) 433-1700

8    DAVID A. WARRINGTON (admitted pro hac vice)
     dwarrington@dhillonlaw.com
9    CURTIS M. SCHUBE (admitted pro hac vice)
10   cschube@dhillonlaw.com
     DHILLON LAW GROUP INC.
11   2121 Eisenhower Avenue, Suite 402
     Alexandria, VA 22314
12   Telephone: (571) 400-2121
     Attorneys for Plaintiffs
13
14
     JOSEPH W. COTCHETT (SBN 36324)
15   jcotchett@cpmlegal.com
     TAMARAH P. PREVOST (SBN 313422)
16   tprevost@cpmlegal.com
     ANDREW F. KIRTLEY (SBN 328023)
17
     akirtley@cpmlegal.com
18   MELISSA MONTENEGRO (SBN 329099)
     mmontenegro@cpmlegal.com
19   COTCHETT, PITRE & McCARTHY, LLP
     San Francisco Airport Office Center
20   840 Malcolm Road, Suite 200
     Burlingame, CA 94010
21
     Telephone: (650) 697-6000
22   Attorneys for Defendants

23                                      [Case caption follows on next page]

24
25
26
27
28
                                                   Page 1 of 4
     Stipulated Schedule and [Proposed] Order                                 5:22-cv-00501-BLF
                Case 5:22-cv-00501-BLF Document 57 Filed 05/20/22 Page 2 of 3



                                      UNITED STATES DISTRICT COURT
1
                                  NORTHERN DISTRICT OF CALIFORNIA
2
                                                SAN JOSE DIVISION
3
4      NATIONAL ASSOCIATION FOR GUN                          Case Number: 5:22-cv-00501-BLF
5      RIGHTS, INC., a nonprofit corporation, and
       MARK SIKES, an individual,                            STIPULATED SCHEDULE AND
6                                                            [PROPOSED] ORDER
                        Plaintiffs,
7
                        v.
8                                                            Judge: Honorable Beth Labson Freeman
       CITY OF SAN JOSE, a public entity,
9      JENNIFER MAGUIRE, in her official
10     capacity as City Manager of the City of San
       Jose, and the CITY OF SAN JOSE CITY
11     COUNCIL,

12
                        Defendants.
13
14
15           The parties to the above-entitled action jointly submit this Stipulated Schedule and
16   [Proposed] Order pursuant to this Court’s April 29, 2022, Case Management Order:
17           1) June 28, 2022: Deadline to amend pleadings.*
18           2) March 1, 2023: Deadline for expert disclosures.
19           3) April 3, 2023: Deadline for rebuttal expert disclosures.
20           4) May 1, 2023: Fact discovery deadline.
21           5) July 3, 2023: Deadline to complete expert discovery.
22           6) August 1, 2023: Dispositive motion deadline.
23           7) October 5, 2023: Dispositive motions heard.*
24           8) January 18, 2024: Final pre-trial conference.*
25           9) March 4, 2024: Trial*
26
27
28
                                                    Page 2 of 4
     Stipulated Schedule and [Proposed] Order                                    5:22-cv-00501-BLF
                Case 5:22-cv-00501-BLF Document 57 Filed 05/20/22 Page 3 of 3




1    An asterisk denotes dates already set by the Court in its April 29, 2022 Case Management Order.
2    See ECF 49.
3
4
5
6                                               DHILLON LAW GROUP INC.

7
8
9      Dated:                                   /s David A. Warrington

10                                              David A. Warrington

11                                              Counsel for Plaintiffs

12
13                                              COTCHETT, PITRE & McCARTHY, LLP

14
15     Dated:                                   /s Tamarah P. Prevost

16                                              Tamarah P. Prevost

17                                              Counsel for Defendants

18
19
20
                                          CERTIFICATE OF SERVICE
21
             I hereby certify that on May 20, 2022, I caused to serve a true and accurate copy of the
22
     following on all counsel of record via ECF:
23
                          STIPULATED SCHEDULE AND [PROPOSED] ORDER
24
25
             I declare under penalty of perjury under the laws of the United States of America that the
26   foregoing is true and correct.
27   Dated: May 20, 2022                           __/s David A. Warrington_______________
28                                                         David A. Warrington
                                                 Page 3 of 4
     Stipulated Schedule and [Proposed] Order                                    5:22-cv-00501-BLF
